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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

Texas League of United Latin           §   Civil Action No.: 5:19-CV-00074-FB
American Citizens, et al.,             §   [Lead Case]
Plaintiffs,                            §
v.                                     §
                                       §
David Whitley; et al.,                 §
Defendants,                            §
                                       §
                                       §
MOVE Texas Civic Fund, et al.,         §   Civil Action No. 5:19-CV-00171-FB
Plaintiffs,                            §   [Consolidated Case]
                                       §
v.                                     §
                                       §
David Whitley, et al.,                 §
Defendants,                            §
                                       §
                                       §
Julieta Garibay, et al.,               §   Civil Action No. 5:19-CV-00159-FB
Plaintiffs,                            §   [Consolidated Case]
                                       §
v.                                     §
                                       §
David Whitley, et al.,                 §
Defendants.                            §




     PLAINTIFFS MOVE TEXAS CIVIC FUND, ET AL.’s UNOPPOSED MOTION
FOR LEAVE TO EXCEED PAGE LIMITATION IN RESPONSE TO DEFENDANTS
      DAVID WHITLEY AND KEITH INGRAM’s MOTION TO DISMISS
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       Plaintiffs Move Texas Civic Fund, JOLT Initiative, League of Women Voters of Texas,

and Nivien Saleh (hereinafter, “Plaintiffs”) respectfully request leave of Court for an extension

of the page limitation in order to file their Response to Defendants David Whitley and Keith

Ingram (“State Defendants”)’s Motion to Dismiss. Case No. 5:19-CV-00171-FB; Dkt. 27. 1 In

support, Plaintiffs show the following:

       1. Local Rule 7 in the Western District of Texas requires parties to seek leave of Court

           when a dispositive motion or a response to such motion exceeds 20 pages.

       2. On February 12, 2019, State Defendants filed a Motion to Dismiss Plaintiffs’

           Complaint that is 36 pages long (Dkt. 27), along with an Unopposed Motion for

           Leave to Exceed Page Limitations (Dkt. 26).

       3. Plaintiffs’ Response to Defendants’ Motion to Dismiss is 35 pages in length.

       4. Good cause exists for extending the page limitation for this responsive pleading. The

           State Defendants move to dismiss Plaintiffs’ claims under Rules of Civil Procedure

           12(b)(1), 12(b)(3), and 12(b)(6). Defendants challenge some Plaintiffs’ standing and

           seek dismissal of six distinct causes of action. Plaintiffs require extra pages to

           respond to Defendants’ arguments and adequately present these complex issues to the

           Court. Plaintiffs seek leave to exceed the page limitation in the interest of justice, not

           for delay, and no party will be prejudiced if leave is granted.

       5. The parties have conferred regarding Plaintiffs’ request, and State Defendants are

           unopposed to this extension.

       6. Accordingly, Plaintiffs respectfully request that this motion be granted.



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 Unless otherwise indicated, all references to Docket numbers are to documents filed in Case
No. 5:19-CV-0171-FB, transferred into this Division on February 21, 2019, and subsequently
consolidated with this case.
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                                                 Respectfully submitted,

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                                            ATTORNEYS FOR PLAINTIFFS

                                            * Motion to Appear Pro Hac Vice pending before
                                            the Court
                                            ** Motion to Appear Pro Hac Vice forthcoming
                                            † Admitted in Massachusetts, not D.C.; practice
                                            consistent with D.C. App. R. 49(c)(3).

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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document was served upon all

counsel via this Court’s ECF system.

                                                 /s/Thomas Buser-Clancy
                                                 Thomas Buser-Clancy




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